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      BENBROOK LAW GROUP, PC
  1   BRADLEY A. BENBROOK (SBN 177786)
      STEPHEN M. DUVERNAY (SBN 250957)
  2   701 University Avenue, Suite 106
      Sacramento, CA 95825
  3   Telephone: (916) 447-4900
      brad@benbrooklawgroup.com
  4
      Attorneys for Plaintiffs
  5
  6
  7
  8
                             UNITED STATES DISTRICT COURT
  9
                         SOUTHERN DISTRICT OF CALIFORNIA
 10
 11   FIREARMS POLICY COALITION,                        Case No.: 3:23-cv-00400-LL-DDL
      INC.; CALIFORNIA GUN RIGHTS
 12   FOUNDATION; SAN DIEGO
      COUNTY GUN OWNERS PAC,                            MEMORANDUM OF POINTS AND
 13                                                     AUTHORITIES IN SUPPORT OF
                          Plaintiffs,                   PLAINTIFFS’ MOTION FOR
 14                                                     PRELIMINARY INJUNCTION OR,
            v.                                          ALTERNATIVELY, FOR
 15                                                     SUMMARY JUDGMENT
      CITY OF SAN DIEGO; COUNTY OF
 16   IMPERIAL; COUNTY OF ALAMEDA;                      Date: May 2, 2023
      COUNTY OF VENTURA; COUNTY                         Courtroom 5D (5th Floor)
 17   OF LOS ANGELES; CITY OF SAN                       Hon. Linda Lopez
      JOSE; and COUNTY OF SANTA
 18   CLARA,
 19                       Defendants.
 20
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  1                                      I. INTRODUCTION
  2          In Miller v. Bonta, this Court enjoined the State from enforcing California Code
  3   of Civil Procedure Section 1021.11, a one-sided fee-shifting provision that punishes
  4   firearms litigants and their attorneys for asserting constitutional claims, and held that
  5   the statute was unconstitutional on multiple fronts. No. 3:22-cv-1446-BEN-MDD, ---
  6   F.Supp.3d ----, 2022 WL 17811114 (S.D. Cal. Dec. 19, 2022). Because the Defendant
  7   local jurisdictions were not defendants in Miller, they are not directly bound by the
  8   injunction and could invoke Section 1021.11 against parties who challenge municipal
  9   firearms regulations. Plaintiffs are organizations that, but for the risk of ruinous fee
 10   liability under Section 1021.11, would challenge firearms regulations in the Defendant
 11   jurisdictions. Before filing this case, Plaintiffs requested that Defendants stipulate to
 12   non-enforcement of Section 1021.11 in light of Miller, but Defendants have refused
 13   to do so. As a result, Plaintiffs have refrained from challenging Defendants’ firearms
 14   regulations until this Court removes the cloud hanging over those claims by virtue of
 15   Section 1021.11’s operation.
 16          As this Court has recognized, Section 1021.11 is an unconstitutional attempt by
 17   the State of California to deter citizens and firearms advocacy groups—through a
 18   novel, one-way fee-shifting penalty—from accessing the courts to litigate claims over
 19   firearms regulations. In Miller, the Court held that Section 1021.11 violated the First
 20   Amendment (2022 WL 17811114 at *2–4); the Supremacy Clause (id. at *4–7); and
 21   noted that it likewise ran afoul of the Due Process and Equal Protection Clauses (see
 22   id. at *2–3). “A state law that threatens its citizens for questioning the legitimacy of
 23   its firearms regulations may be familiar to autocratic and tyrannical governments, but
 24   not American government. American law counsels vigilance and suspiciousness of
 25   laws that thwart judicial scrutiny.” Id. at *3. Because “the purpose and effect of
 26   § 1021.11 is to trench on a citizen’s right of access to the courts and to discourage the
 27   peaceful vindication of an enumerated constitutional right,” the Court declared the
 28   statute invalid. Id. at *4.
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  1          Section 1021.11’s enforcement is unconstitutional, regardless of whether the
  2   State or these local-government Defendants seek to enforce it. This suit was filed on
  3   March 2, 2023, and every Defendant was served with the summons on March 3. But
  4   Defendants still have not disavowed an intent to enforce the law. Instead, Defendants
  5   appear poised to defend Section 1021.11’s constitutionality, or at least benefit from
  6   the deterrent effect of having it remain in place. Injunctive relief is therefore necessary
  7   to secure Plaintiffs’ rights.
  8          Since this case presents only questions of law, there is no need for discovery or
  9   further development of the case. This Court should take expeditious action and enter
 10   judgment in Plaintiffs’ favor. Defendants should be enjoined from enforcing this
 11   unconstitutional statute.
 12                                 II. BACKGROUND
 13   A.     Section 1021.11 Creates A State-Law Fee-Shifting Regime, Applicable
             Only To Firearms Litigation, Designed To Suppress Such Cases And
 14          Insulate Firearms Regulations From Judicial Review.
 15          Senate Bill 1327, enacted as Code of Civil Procedure § 1021.11, is based
 16   largely word-for-word on Texas’s SB 8, enacted in 2021 in the abortion context. See
 17   Miller, 2022 WL 17811114, at *1. This case challenges Section 1021.11’s radical
 18   effort to suppress firearms-related litigation by putting civil rights litigants and their
 19   attorneys on the hook for the government’s attorney’s fees if a case results in anything
 20   short of victory on every claim alleged in a complaint.1 Section 1021.1l provides, in
 21   relevant part:
 22          Notwithstanding any other law, any person, including an entity,
             attorney, or law firm, who seeks declaratory or injunctive relief to
 23          prevent this state, a political subdivision, a governmental entity or
             public official in this state, or a person in this state from enforcing any
 24          statute, ordinance, rule, regulation, or any other type of law that
             regulates or restricts firearms, or that represents any litigant seeking
 25
 26   1
             Senate Bill 1327 also created a private right of action to enforce state laws
 27   relating to the unlawful manufacture, distribution, or sale of specified firearms. 2022
      Cal. Stat. ch. 146, § 1 (adding Bus. & Prof. Code §§ 22949.60–.71). This case does
 28   not challenge SB 1327’s private attorney general features.
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            that relief, is jointly and severally liable to pay the attorney’s fees and
  1         costs of the prevailing party.
  2
      Cal. Code Civ. Proc. § 1021.11(a).
  3
            Unlike any other ordinary “fee shifting” statute, Section 1021.11 says that a
  4
      “prevailing party” cannot be a plaintiff who brings a case seeking declaratory or
  5
      injunctive relief regarding a state or local firearm regulation. Code Civ. Proc.
  6
      § 1021.11(e). And it says that a government defendant in a firearms case, including a
  7
      local-government defendant, will be treated as a “prevailing party” if the court either
  8
      “[d]ismisses any claim or cause of action” in the case, “regardless of the reason for
  9
      the dismissal,” or “[e]nters judgment in favor of the [government] party” “on any
 10
      claim or cause of action.” Code Civ. Proc. § 1021.11(b) (emphasis added). In simple
 11
      terms, then, Section 1021.11 would enable government defendants to recover fees if
 12
      a firearms plaintiff loses on any claim in the case, while the plaintiff can only avoid
 13
      liability for fees if it prevails on every claim in the case. This means, among other
 14
      things, that a plaintiff could be liable for the government’s fees even if the plaintiff
 15
      obtained all of the relief sought in the litigation—for example, if the plaintiff obtained
 16
      declaratory and injunctive relief on a Second Amendment claim but the plaintiff’s
 17
      Equal Protection claim was thereafter dismissed as moot.
 18
            Section 1021.11(c) further gives these “prevailing party” government
 19
      defendants a three-year window to bring a state law action to recover their fees,
 20
      notwithstanding that the vast majority of firearms litigation is brought under 42 U.S.C.
 21
      § 1983 and federal law already provides for the treatment of attorney’s fees in those
 22
      cases: 42 U.S.C. § 1988(b) provides that “prevailing part[ies]” in federal civil rights
 23
      actions may recover “a reasonable attorney’s fee as part of [their] costs” in the
 24
      underlying action itself.
 25
      B.    Section 1021.11 Violates Several Constitutional Provisions.
 26
            Despite signing SB 1327 into law, Governor Newsom blasted the Supreme
 27
      Court’s refusal to block SB 8, the Texas law on which SB 1327 was based, as
 28
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   1   “outrageous” and “an abomination.” Gavin Newsom, Opinion, The Supreme Court
   2   Opened the Door to Legal Vigilantism in Texas. California Will Use the Same Tool
   3   To Save Lives., Wash. Post (Dec. 20, 2021), https://wapo.st/3wxWoeI. Attorney
   4   General Rob Bonta has likewise described SB 8 as “blatantly unconstitutional.” Press
   5   Release, Cal. Dep’t of Just., Att’y Gen. Bonta: Texas Cannot Avoid Judicial Review
   6   of Its Constitutional Abortion Ban (Oct. 27, 2021), https://bit.ly/3pRWA4F. And SB
   7   1327’s legislative history includes similar acknowledgements. See S.B. 1327, S. Floor
   8   Analysis, p. 6 (June 28, 2022) (“While the goal of repurposing the Texas law may be
   9   sound, these problematic provisions may not justify those ends. They insulate
 10    government action from meaningful challenge by creating a strong, punitive deterrent
  11   for any that try and in the end, may violate due process guarantees.”); S.B. 1327, A.
 12    Jud. Comm. Analysis, p. 13 (June 10, 2022) (describing SB 1327’s fee-shifitng as “a
 13    lose-lose scenario for plaintiffs who challenge the bill or a gun law; and a win-win
 14    scenario for the government”).
 15          Thus, the constitutionality of Section 1021.11—which was enacted to target
 16    firearms litigation as a form of protest over Texas’s SB 8—has never been in serious
 17    dispute. Indeed, the Attorney General declined to defend the law in Miller. See 2022
 18    WL 17811114, at *1. And though the Governor intervened to litigate the law’s
 19    constitutionality on the merits, his defense amounted to the assertion that, “[w]hile
 20    fee-shifting provisions like S.B. 8’s,” and therefore like Section 1021.11’s, “are
 21    outrageous and objectionable, no court has yet held that this type of fee-shifting
 22    provision is unconstitutional.” Intervenor-Def.’s Supp. Br. at 8:18–20, Miller v.
 23    Bonta, No. 3:22-cv-1446, ECF No. 35 (Dec. 12, 2022).
 24          That is no longer the case. In Miller, this Court held that Section 1021.11
 25    violates the First Amendment, the Supremacy Clause, the Equal Protection Clause,
 26    and the Due Process Clause. The Court’s reasoning will be discussed throughout this
 27    brief. But the crux is as follows: “The principal defect of § 1021.11 is that it threatens
 28    to financially punish plaintiffs and their attorneys who seek judicial review of laws
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   1   impinging on federal constitutional rights. Today, it applies to Second Amendment
   2   rights. Tomorrow, with a slight amendment, it could be any other constitutional
   3   right[.]” Miller, 2022 WL 17811114, at *2.
   4
       C.    Section 1021.11’s Fee-Shifting Regime Has Infringed On Plaintiffs’
   5         Constitutional Rights By Depriving Them Of Access To Court.
   6         As detailed in Miller, Section 1021.11 unconstitutionally chilled Plaintiffs’
   7   ability to bring and continue to prosecute civil rights cases challenging California
   8   firearm regulations. Section 1021.11 also purports to allow local jurisdictions to
   9   enforce its onerous terms when they are sued in challenges to their firearm regulations.
 10    Plaintiffs here are prepared to sue each of the Defendants for local regulations that
  11   violate the Second Amendment. But Defendants were not parties to Miller, so they are
 12    not directly bound by its injunction.
 13          After the Miller ruling, Plaintiffs FPC and CGF asked Defendants to stipulate
 14    that they would not enforce Section 10211.11, either in a current case or a case that
 15    Plaintiffs intend to file. Each Defendant refused, either affirmatively or by declining
 16    to respond. This resistance is indefensible in light of the Miller ruling enjoining the
 17    law as to the State of California.
 18          Specifically, Defendants responded as follows:
 19          City of San Diego. Counsel for the plaintiffs (which include FPC and SDCGO)
 20    in the pending case of Fahr v. City of San Diego, S.D. Cal. Case No. 3:21-cv-01676-
 21    BAS-BGS, sent a letter to the San Diego City Attorney asking that it stipulate not to
 22    enforce Section 1021.11 against the plaintiffs or their attorneys and law firms based
 23    on the outcome of the case. The City Attorney’s office responded that “the City is not
 24    in a position to stipulate as requested,” and that it did “not believe” that the Court’s
 25    decision in Miller “warrants an unequivocal waiver from the City.” DiGuiseppte
 26    Decl., ¶¶ 2–4 & Ex. 1. As a result, FPC and SDCGO are forced to continue litigating
 27    under the threat of Section 1021.11 fee liability. The uncertainty about potential
 28    enforcement has created a chilling effect on the Fahr Plaintiffs’ (and their counsel’s)
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   1   ability to proceed with the case. DiGuiseppte Decl., ¶¶ 5–6; Combs Decl., ¶ 8;
   2   Schwartz Decl., ¶ 5.
   3         County of Imperial. Counsel for FPC and CGF sent a letter to the Office of the
   4   County Counsel for the County of Imperial asking that it stipulate not to enforce
   5   Section 1021.11 against the intended plaintiffs or their attorneys and law firms in a
   6   case they intend to file challenging the constitutionality of a county ordinance
   7   prohibiting the possession of firearms in any recreational park within the county’s
   8   jurisdiction. Imperial County did not respond. Benbrook Decl., ¶ 4 & Ex. 2.
   9         County of Alameda. Counsel for FPC and CGF sent a letter to the Office of the
 10    County Counsel for the County of Alameda asking that it stipulate not to enforce
  11   Section 1021.11 against the intended plaintiffs or their attorneys and law firms in a
 12    case they intend to file challenging the constitutionality of the Alameda County
 13    Sherriff’s Office’s application and enforcement of the County’s licensing regime for
 14    carrying concealed firearms. Lee Decl., ¶ 3 & Ex. 4.
 15          Alameda County Counsel responded by letter that it would not agree to non-
 16    enforcement. The County further suggested (baselessly) that Plaintiffs’ counsel were
 17    in potential breach of ethical obligations and “encouraged” counsel to “be mindful of
 18    your duties obligations [sic] before you make averments in any pleading regarding the
 19    intentions of the Sheriff and the County” regarding Section 1021.11, because claims
 20    against them purportedly “do not exist and would not be ripe despite your attempts to
 21    manufacture a claim.” Lee Decl., ¶ 3 & Ex. 4.
 22          County of Ventura. FPC and CGF sent a letter to the Office of the County
 23    Counsel for the County of Ventura asking that it stipulate not to enforce Section
 24    1021.11 against the intended plaintiffs or their attorneys and law firms in a case they
 25    intend to file challenging the constitutionality of the Ventura County Sherriff’s
 26    Office’s application and enforcement of the County’s licensing regime for carrying
 27    concealed firearms. Ventura County did not respond. Benbrook Decl., ¶ 5 & Ex. 5.
 28
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   1         County of Los Angeles. Counsel for FPC and CGF sent a letter to the Office of
   2   the County Counsel for the County of Los Angeles asking that it stipulate not to
   3   enforce Section 1021.11 against the intended plaintiffs or their attorneys and law firms
   4   in a case they intend to file challenging the constitutionality of (1) the Los Angeles
   5   County Sherriff’s Office’s application and enforcement of the County’s licensing
   6   regime for carrying concealed firearms; and (2) a provision of the county code
   7   prohibiting the possession of firearms in any public park within the county’s
   8   jurisdiction. County Counsel responded by letter that it would not agree to non-
   9   enforcement, but that it “would be willing to discuss entereing into a case-specific
 10    situation.” Benbrook Decl., ¶ 6 & Exs. 6, 7.
  11         City of San Jose. Counsel for FPC and CGF sent a letter to counsel for the City
 12    of San Jose asking that the city stipulate not to enforce Section 1021.11 against the
 13    intended plaintiffs or their attorneys and law firms in a case they intend to re-file
 14    challenging the constitutionality of city ordinances requiring firearm owners to pay an
 15    annual fee to a City-designated non-profit organization and obtain firearm-related
 16    insurance. FPC had previously sued to invalidate those same regulations, but
 17    dismissed the lawsuit in August 2022 because of the threat posed by Section 1021.11.
 18    Glass v. City of San Jose, N.D. Cal. Case No 5:22-cv-02533-BL. FPC is prepared to
 19    re-file this challenge against San Jose once San Jose is enjoined from attempting to
 20    enforce Section 1021.11. Benbrook Decl., ¶ 7 & Ex. 8; Combs Decl., ¶ 13; Hoffman
 21    Decl., ¶ 10.
 22          Counsel for San Jose responded by letter that it would not agree to non-
 23    enforcement, claiming that it was “inappropriate to respond” outside of the context of
 24    an actual lawsuit. Benbrook Decl., ¶ 7 & Ex. 9. Counsel “decline[d] to comment on
 25    what positions the City might take, or what remedies it might seek, in hypothetical
 26    future litigation against the City.” Furthermore, counsel for San Jose claimed it was
 27    “impossible to know what specific City laws [the Plaintiffs] intend to file a lawsuit
 28    over,” id., despite being advised that Plaintiffs “are now prepared to re-file litigation
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   1   seeking declaratory and injunctive relief as to at least the[] same regulations” at issue
   2   in the Glass litigation. And counsel for San Jose accused Plaintiffs of sending the letter
   3   to gain “some advantage in [their] ongoing lawsuit” in the Miller case, despite the fact
   4   that the Miller court had already entered a permanent injunction forty-five days earlier.
   5   Id.
   6         Santa Clara County. Counsel for FPC and CGF sent a letter to the Office of the
   7   County Counsel for the County of Santa Clara asking that it stipulate not to enforce
   8   Section 1021.11 against the intended plaintiffs or their attorneys and law firms in a
   9   case they intend to file challenging the constitutionality of the Santa Clara County
 10    Sherriff’s Office’s application and enforcement of the County’s licensing regime for
  11   carrying concealed firearms. Santa Clara County has not responded. Benbrook Decl.,
 12    ¶ 8 & Ex. 10.
 13          But for Section 1021.11’s fee-shifting provisions, Plaintiffs would forthwith
 14    engage in the litigation outlined above, but they have refrained from bringing these
 15    suits against Defendants due to the law’s threat of ruinous fee liability. Combs Decl.,
 16    ¶¶ 5–16; Hoffman Decl., ¶¶ 3–12; Schwartz Decl., ¶¶ 4–7. Plaintiffs thus suffer a
 17    classic First Amendment injury: they wish to engage in conduct protected by the First
 18    Amendment but within Section 1021.11’s reach, and their constitutional rights to
 19    engage in that conduct have been chilled by the statute. Italian Colors Rest. v. Becerra,
 20    878 F.3d 1165, 1171–73 (9th Cir. 2018) (detailing standard for preenforcement
 21    challenge based on chilled First Amendment activity); Tingley v. Ferguson, 47 F.4th
 22    1055, 1066–67 (9th Cir. 2022) (“unique standing considerations in the First
 23    Amendment context,” where “the Supreme Court has dispensed with rigid standing
 24    requirements” and where chilled conduct is “a constitutionally sufficient injury,” “tilt
 25    dramatically” in favor of pre-enforcement standing) (cleaned up). Plaintiffs’ injury is
 26    akin to self-censorship—they have suffered injury by being “forced to modify [their]
 27    speech and behavior to comply with the statute.” Ariz. Right to Life Political Action
 28    Comm. v. Bayless, 320 F.3d 1002, 1006 (9th Cir. 2003) (“ARLPAC”). Such “self-
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   1   censorship” is a sufficient injury under Article III “even without an actual
   2   prosecution.” Virginia v. Am. Booksellers Ass’n, Inc. 484 U.S. 383, 393 (1988); see
   3   also ARLPAC, 320 F.3d at 1007 n.6 (fact that Plaintiffs have “suffered actual harm
   4   dispenses with any ripeness concerns).
   5         Indeed, Defendants’ uniform refusal to abide by the Miller ruling confirms why
   6   relief is necessary in this case. Plaintiffs filed this lawsuit on March 2, 2023. Each
   7   Defendant was served with the summons and complaint the next day. ECF Nos. 7–13.
   8   To date, no Defendant has disavowed an intent to enforce Section 1021.11 against
   9   Plaintiffs. Benbrook Decl., ¶ 9. It must therefore be presumed that Defendants will
 10    enforce the statute if Plaintiffs file the intended lawsuits and fail to prevail on every
  11   claim. Cf. Cayuga Nation v. Tanner, 824 F.3d 321, 331 (2d Cir. 2016) (“Courts are
 12    generally ‘willing to presume that the government will enforce the law as long as the
 13    relevant statute is recent and not moribund.’”) (citation omitted). Indeed, the Supreme
 14    Court has consistently held that preenforcement First Amendment challenges are
 15    justiciable when the government retains the threat to enforce an allegedly
 16    unconstitutional statute. Babbitt v. United Farm Workers Nat’l Union, 442 U.S. 289,
 17    302 (1979) (finding preenforcement First Amendment challenge justiciable despite
 18    argument that statute “has not yet been applied and may never be applied” because of
 19    the potential for enforcement); Virginia v. Am. Booksellers Ass’n, Inc., supra, 484
 20    U.S. at 393 (permitting preenforcement First Amendment challenge where “[t]he State
 21    has not suggested that the newly enacted law will not be enforced, and we see no
 22    reason to assume otherwise”); Holder v. Humanitarian L. Project, 561 U.S. 1, 16
 23    (2010) (allowing preenforcement First Amendment challenge and noting “[t]he
 24    Government has not argued to this Court that plaintiffs will not be prosecuted if they
 25    do what they say they wish to do”). This threat forced Plaintiffs to file a second lawsuit
 26    to obtain the same relief against the local-government Defendants that they obtained
 27    against State defendants in Miller.
 28
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   1                              III. ALTERNATIVE MOTIONS
   2         Plaintiffs move for a preliminary injunction with an expedited trial on the merits
   3   or, alternatively, for summary judgment.
   4         “A plaintiff seeking a preliminary injunction must establish that he is likely to
   5   succeed on the merits, that he is likely to suffer irreparable harm in the absence of
   6   preliminary relief, that the balance of equities tips in his favor, and that an injunction
   7   is in the public interest.” Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20
   8   (2008). A plaintiff must “make a showing on all four prongs” of the Winter test to
   9   obtain a preliminary injunction, but a court may employ a “sliding scale” approach in
 10    weighing the four factors. Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127,
  11   1134–35 (9th Cir. 2011). “[T]he burdens at the preliminary injunction stage track the
 12    burdens at trial.” Gonzales v. O Centro Espirita Beneficente Uniao do Vegetal, 546
 13    U.S. 418, 429 (2006). So where, as here, the non-moving party bears the burden of
 14    persuasion at trial, the moving party “must be deemed likely to prevail” if the non-
 15    movant fails to make an adequate showing. Ashcroft v. Am. Civil Liberties Union, 542
 16    U.S. 656, 666 (2004). If the Court treats the motion as a motion for preliminary
 17    injunction, Plaintiffs request that the Court advance the trial on the merits and
 18    consolidate it with the preliminary injunction hearing. See Fed. R. Civ. P. 65(a)(2).
 19          Alternatively, Plaintiffs are entitled to summary judgment under Federal Rule
 20    of Civil Procedure 56, which “allows a party to move for summary judgment at any
 21    time, even as early as the commencement of the action.” Fed. R. Civ. P. 56, advisory
 22    comm. notes (2009 Amendments). Summary judgment is appropriate if the moving
 23    party demonstrates that there is no genuine issue of material fact and that it is entitled
 24    to judgment as a matter of law. Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477
 25    U.S. 317, 322 (1986). A fact is material when, under the governing substantive law, it
 26    could affect the outcome of the case. Anderson v. Liberty Lobby, Inc., 477 U.S. 242,
 27    248 (1986). “Disputes over irrelevant or unnecessary facts will not preclude a grant of
 28    summary judgment.” T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors Ass’n, 809 F.2d
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   1   626, 630 (9th Cir. 1987). Where the party moving for summary judgment does not
   2   bear the burden of proof at trial, “the burden on the moving party may be discharged
   3   by ‘showing’—that is, pointing out to the district court—that there is an absence of
   4   evidence to support the nonmoving party’s case.” Celotex Corp., 477 U.S. at 325.
   5   Treating this motion as a motion for summary judgment is appropriate because the
   6   case presents purely legal issues that this Court has already decided, and there will be
   7   no genuine disputes of material fact.
   8                                 IV. ARGUMENT
   9   A.    Section 1021.11’s Fee-Shifting Regime Is Unconstitutional And Should Be
             Enjoined As To Defendants For The Same Reasons It Was Enjoined As To
 10          The State In Miller.
  11         The State is now enjoined from enforcing Section 1021.11 under Miller v.
 12    Bonta. 2022 WL 17811114 (S.D. Cal. Dec. 19, 2022).2 The Court in Miller found that
 13    Section 1021.11 violates the First Amendment, is pre-empted under the Supremacy
 14    Clause by 42 U.S.C. § 1988, and runs afoul of the Equal Protection and Due Process
 15    Clauses. For the same reasons, these local government Defendants should be enjoined
 16    from enforcing Section 1021.11.
 17
             1.     Section 1021.11’s          Fee-Shifting       Regime       Violates         the   First
 18                 Amendment.
 19          Section 1021.11 encourages state and local governments to push the
 20    constitutional envelope when crafting firearms regulations by threatening would-be
 21    plaintiffs who might challenge those regulations with a potentially ruinous fee award.
 22    As the Court observed in Miller, “[t]he principal defect of § 1021.11 is that it threatens
 23    to financially punish plaintiffs and their attorneys who seek judicial review of laws
 24    impinging on federal constitutional rights.” 2022 WL 17811114 at *2. “Laws like
 25    § 1021.11 that exact an unaffordable price to be heard in a court of law are
 26
       2
 27         The Court issued a substantively identical ruling in a related case. South Bay
       Rod & Gun Club, Inc. v. Bonta, S.D. Cal. Case No. 3:22-cv-1461-BEN-JLB, 2022
 28    WL 17811113 (S.D. Cal. Dec. 19, 2022).
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   1   intolerable.” Id. at *3. And the threat posed by Section 1021.11 extends beyond
   2   imposing financial ruin on would-be plaintiffs: the law imposes the same threat of fee
   3   liability on plaintiffs’ attorneys and their law firms. The Miller Court recognized that
   4   this scheme “does a disservice to the courts” through suppressing “novel,”
   5   “substantial” claims, thereby “threaten[ing] severe impairment of the judicial
   6   function” by “insulat[ing] the Government’s laws from judicial inquiry.” Id. at *4
   7   (citations omitted).
   8         Section 1021.11 thus improperly threatens the right of access to the courts. The
   9   right to petition the government for redress of grievances includes “[t]he right of
 10    access to the courts,” which “is indeed but one aspect of the right of petition.” Cal.
  11   Motor Trans. Co. v. Trucking Unlimited, 404 U.S. 508, 510 (1972). The Miller Court
 12    noted that Section 1021.11 struck at the core of this right. “In our ordered system of
 13    civil justice, the Second Amendment right, and for that matter all constitutional rights,
 14    are ultimately protected by the First Amendment right to identify unconstitutional
 15    infringements and seek relief from the courts.” 2022 WL 17811114 at *2. And the
 16    Court further emphasized “that maintaining the courts as a setting to resolve questions
 17    about defective laws is necessary for a peaceful society.” Id.
 18          This isn’t the first time a state has erected and enforced regulatory barriers to
 19    avoid civil rights litigation. The Supreme Court rejected Virginia’s attempt to keep
 20    the NAACP out of court in Nat’l Ass’n for Advancement of Colored People v. Button,
 21    371 U.S. 415 (1963) (concerning the state’s ban against the “improper solicitation” of
 22    legal business), and struck down South Carolina’s efforts to punish the ACLU’s
 23    counsel in In re Primus, 436 U.S. 412 (1978) (concerning the state’s prohibition
 24    against solicitation of prospective litigants).
 25          The Supreme Court has recognized the central role the First Amendment plays
 26    in securing access to the courts to preserve civil rights, particularly for groups unable
 27    protect their rights through the political channels. “Groups which find themselves
 28    unable to achieve their objectives through the ballot frequently turn to the courts. . . .
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   1   [U]nder the conditions of modern government, litigation may well be the sole
   2   practicable avenue open to a minority to petition for redress of grievances.” Button,
   3   371 U.S. at 429–30. Such is the case here, where Plaintiffs seek to assert their
   4   constitutional rights in litigation against local governments that disfavor Second
   5   Amendment rights.
   6         Since Button, the Supreme Court has consistently enjoined state action that
   7   imposes barriers on litigation that may chill protected activity. See, e.g., Bhd. Of R. R.
   8   Trainmen v. Virginia ex rel. Va. State Bar, 377 U.S. 1, 7 (1964) (a state cannot
   9   “handicap[]” “[t]he right to petition the courts” through indirect regulation that
 10    “infringe[s] in any way the right of individuals and the public to be fairly represented
  11   in lawsuits authorized by Congress to effectuate a basic public interest”); United Mine
 12    Workers of Am., Dist. 12 v. Illinois State Bar Ass’n, 389 U.S. 217, 222–23 (1967) (the
 13    state cannot “erode [the First Amendment’s] guarantees by indirect restraints” on
 14    citizens’ ability to assert their legal rights); United Transp. Union v. State Bar of
 15    Mich., 401 U.S. 576, 580–81, 585–86 (1971) (explaining that “the First Amendment
 16    forbids . . . restraints” that effectively prevent groups from “unit[ing] to assert their
 17    legal rights,” and striking down economic regulation that denied union members
 18    “meaningful access to the courts”).
 19          Because “[t]he Constitution does not permit” the government to “insulate [its]
 20    interpretation of the Constitution from judicial challenge,” courts “must be vigilant
 21    when [the government] imposes rules and conditions which in effect insulate its own
 22    laws from legitimate judicial challenge.” Legal Services Corp. v. Velazquez, 531 U.S.
 23    533, 548–49 (2001). Section 1021.11’s obvious and impermissible purpose is to give
 24    state and local governments in California a free hand to regulate firearms by
 25    suppressing litigation over firearm regulations, in violation of decades of First
 26    Amendment precedent.
 27          Section 1021.11’s fee-shifting regime further violates the First Amendment
 28    because it is content-based and viewpoint-discriminatory. Section 1021.11 imposes a
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   1   unique burden on those who seek to vindicate their civil rights through firearms
   2   litigation while favoring all other sorts of constitutional and statutory civil rights
   3   claims, which are not subject to the same one-sided fee-shifting regime. Civil rights
   4   litigation is core protected speech. See Button, 436 U.S. at 431 (civil rights litigation
   5   is a “form of political expression”); Primus, 436 U.S. at 429; Velazquez, 531 U.S. at
   6   545. Yet Section 1021.11 singles out such speech over firearms restrictions for special
   7   unfavorable treatment. Laws that impose special burdens on disfavored speech and
   8   single out disfavored speakers are constitutionally suspect. Sorrell v. IMS Health Inc.,
   9   564 U.S. 552, 564–66 (2011). States are not permitted to advance their policy goals
 10    “through the indirect means of restraining certain speech by certain speakers,” id. at
  11   577, and “may not burden the speech of others in order to tilt public debate in a
 12    preferred direction.” Id. at 578–79. Indeed, “the First Amendment is plainly offended”
 13    when the government “attempt[s] to give one side of a debatable public question an
 14    advantage in expressing its views to the people.” First Nat’l Bank of Bos. v. Bellotti,
 15    435 U.S. 765, 785–86 (1978).
 16          There is also no legitimate historical precedent for a fee-shifting statute that
 17    only allows government defendants to recover fees in civil rights litigation. Section
 18    1021.11 thus falls outside of the history and tradition of the First Amendment that is
 19    the touchstone of First Amendment analysis. See, e.g., United States v. Stevens, 559
 20    U.S. 460, 468–71 (2010) (placing the burden on the government to show that a type
 21    of speech belongs to one of the “historic and traditional categories” of constitutionally
 22    unprotected speech); accord Kennedy v. Bremerton Sch. Dist., 142 S.Ct. 2407, 2428
 23    (2022) (Establishment Clause analysis must be anchored to “historical practices and
 24    understandings”); New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S.Ct. 2111,
 25    2130 (2022) (“[T]o carry [its] burden, the government must generally point to
 26    historical evidence about the reach of the First Amendment’s protections.”) (emphasis
 27    in original). The lack of historical precedent further demonstrates that SB 1327
 28    violates the First Amendment.
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   1          But even under First Amendment balancing tests, Section 1021.11 cannot
   2   withstand the appropriate strict scrutiny. Defendants cannot possibly sustain their
   3   burden of identifying a compelling interest, because it is impossible to imagine any
   4   interest the Defendants could assert as compelling, or even permissible, in support of
   5   this statute. There is no compelling interest for targeting a particular type of civil rights
   6   litigant for unfavorable treatment when exercising the fundamental right to assert
   7   constitutional claims. Moreover, Section 1021.11 is not narrowly tailored: the State
   8   failed even to consider less restrictive alternatives that would serve such a purported
   9   interest without imposing such severe burdens on core protected rights. United States
 10    v. Playboy Ent. Grp., Inc., 529 U.S. 803, 813 (2000).
  11          In short, and as this Court has already found, Section 1021.11’s fee-shifting
 12    penalty violates the First Amendment.
 13
              2.     Section 1021.11’s Fee-Shifting Regime is Preempted by 42 U.S.C.
 14                  § 1988.
 15           The Supremacy Clause provides that federal law “shall be the supreme Law of
 16    the Land.” U.S. Const. Art. VI, Cl. 2. “Consistent with that command, [the Supreme
 17    Court has] long recognized that state laws that conflict with federal law are without
 18    effect.” Altria Grp., Inc. v. Good, 555 U.S. 70, 76 (2008) (citation omitted). To that
 19    end, “state law is naturally preempted to the extent of any conflict with a federal
 20    statute,” Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 372 (2000), and
 21    “[w]here state and federal law ‘directly conflict,’ state law must give way.” PLIVA,
 22    Inc. v. Mensing, 564 U.S. 604, 617 (2011) (citation omitted); see also Gade v. Nat’l
 23    Solid Wastes Mgmt. Ass’n, 505 U.S. 88, 108 (1992) (“[U]nder the Supremacy Clause
 24    . . . any state law, however clearly within a State’s acknowledged power, which
 25    interferes with or is contrary to federal law, must yield.”) (internal quotation marks
 26    and citation omitted).
 27           Section 1021.11’s attempt to shift the government’s fees onto the shoulders of
 28    civil rights plaintiffs conflicts with the text and structure of Section 1988, and it
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   1   strongly undermines Section 1988’s purposes. Section 1988 provides that, in most
   2   categories of federal civil rights litigation, the court “may allow the prevailing party,
   3   other than the United States, a reasonable attorney’s fee as part of the costs” of the
   4   case. 42 U.S.C. § 1988(b). “[A] prevailing plaintiff ‘should ordinarily recover an
   5   attorney’s fee unless special circumstances would render such an award unjust.’”
   6   Hensley v. Eckerhart, 461 U.S. 424, 429 (1983) (citation omitted and emphasis
   7   added). By contrast, the Supreme Court has repeatedly held that, given the purposes
   8   of Section 1988, prevailing defendants may recover fees only “where the suit was
   9   vexatious, frivolous, or brought to harass or embarrass the defendant.” Id. at 429 n.2;
 10    see Christiansburg Garment Co. v. EEOC, 434 U.S. 412, 422 (1978) (under analogous
  11   fee award language in Title VII, establishing standard that “a plaintiff should not be
 12    assessed his opponent’s attorney’s fees unless a court finds that his claim was
 13    frivolous, unreasonable, or groundless”).
 14          Section 1988 does not require a plaintiff to win every claim in order to be a
 15    “prevailing party.” Relying on congressional guidance, the Supreme Court has “made
 16    clear that plaintiffs may receive fees under [Section] 1988 even if they are not
 17    victorious on every claim. A civil rights plaintiff who obtains meaningful relief has
 18    corrected a violation of federal law and, in so doing, has vindicated Congress’s
 19    statutory purposes.” Fox v. Vice, 563 U.S. 826, 834 (2011); see Texas State Teachers
 20    Ass’n v. Garland Indep. Sch. Dist., 489 U.S. 782, 793 (1989) (Section 1988 fees are
 21    appropriate if a party has “prevailed on a significant issue in the litigation and have
 22    obtained some of the relief they sought”).
 23          Section 1021.11(e), however, says that only government defendants can be
 24    “prevailing parties.” And because it also says a government defendant is a “prevailing
 25    party” if the plaintiff loses on any of its claims, the government would be entitled to
 26    fees even where it has been found to violate the Constitution on other claims in the
 27    case. In other words, Section 1021.11 flips Section 1988, putting government
 28    defendants in a similar if not better position than plaintiffs under Section 1988.
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   1         Section 1021.11 thus directly conflicts with Section 1988 by establishing a
   2   wholly separate state law fee regime. Indeed, Section 1021.11 asserts reverse
   3   supremacy over federal law. The statute remarkably asserts that its fee-shifting
   4   provision applies regardless of what any federal court does in an underlying Section
   5   1983 case: Section 1021.11 pronounces that government officials may plow ahead
   6   with enforcing the fee-shifting penalty against a Section 1983 plaintiff with a state
   7   court collection action even when “[t]he court in the underlying action held that any
   8   provision of this section is invalid, unconstitutional, or preempted by federal law,
   9   notwithstanding the doctrines of issue or claim preclusion.” Code Civ. Proc.
 10    § 1021.11(d)(3) (emphasis added). As the Miller Court observed, “[t]hrough its unfair
  11   legal stratagems, the state law chills the First Amendment right to petition government
 12    for the redress of grievances, which, in turn, chills the Second Amendment right. The
 13    chill is deepened by the extraordinary provision that declares a plaintiff shall not be a
 14    prevailing party. In the end, this state statute undercuts and attempts to nullify 42
 15    U.S.C. § 1988.” 2022 WL 17811114 at *4. Not only does “California’s fee shifting
 16    provision turns [the federal] approach upside down,” but “California attorney’s fee-
 17    shifting construct goes beyond § 1988 by discouraging attorneys from representing
 18    civil rights plaintiffs.” Id. at *6. And because Section 1021.11 “will have the effect of
 19    thwarting federal court orders enforcing Second Amendment rights through § 1988
 20    attorney’s fee awards,” the statute “cannot survive.” Id. at *7.
 21          Section 1021.11 also undermines the manifest purpose of Section 1988. Shortly
 22    after the Civil Rights Act’s passage, the Supreme Court recognized the link between
 23    fee-shifting and effective enforcement of civil rights laws. “When the Civil Rights Act
 24    of 1964 was passed, it was evident that enforcement would prove difficult and that the
 25    Nation would have to rely in part upon private litigation as a means of securing broad
 26    compliance with the law. . . . If successful plaintiffs were routinely forced to bear their
 27    own attorneys’ fees, few aggrieved parties would be in a position to advance the public
 28    interest by invoking the injunctive powers of the federal courts. Congress therefore
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   1   enacted the provision for counsel fees . . . to encourage individuals injured by racial
   2   discrimination to seek judicial relief . . . .” Newman v. Piggie Park Enters., Inc., 390
   3   U.S. 400, 401–02 (1968).
   4         In short, “[t]he purpose of [Section] 1988 is to ensure ‘effective access to the
   5   judicial process’ for persons with civil rights grievances.” Hensley, 461 U.S. at 429
   6   (quoting H.R. Rep. No. 94–1558 at 1 (1976)); see also S. Rep. No. 94-1011 at 2 (June
   7   29, 1976) (explaining that the federal “civil rights laws depend heavily upon private
   8   enforcement, and fee awards have proved an essential remedy if private citizens are
   9   to have a meaningful opportunity to vindicate the important Congressional policies”
 10    embodied in those laws).
  11         In direct conflict with Section 1988’s purpose, Section 1021.11 threatens to
 12    bankrupt any plaintiff considering a challenge to a state or local firearm regulation if
 13    the plaintiff does not achieve complete victory in the litigation. This is a heavy-handed
 14    deterrent to asserting civil rights claims, whereas Section 1988 expresses
 15    Congressional intent to encourage civil rights litigation.
 16          Because Section 1021.11 “stands as an obstacle to the accomplishment and
 17    execution of the full purposes and objective of Congress,” California’s law “must give
 18    way.” PLIVA, Inc., 564 U.S. 634, 617. As this Court again has already found, Section
 19    1021.11’s fee-shifting penalty is preempted and its application is unconstitutional
 20    under the Supremacy Clause.
 21
             3.     Section 1021.11’s Fee-Shifting Regime Violates The Equal
 22                 Protection And Due Process Clauses.
 23          A law also cannot baselessly discriminate the exercise of a constitutional right
 24    without violating the Equal Protection Clause. See, e.g., Nordlinger v. Hahn, 505 U.S.
 25    1, 10 (1992). In all the ways described above, Section 1021.11 discriminates against
 26    federal constitutional rights, against gun rights plaintiffs in particular, and on the basis
 27    of viewpoint. As this Court held in Miller, therefore, Section 1021.11 also violates the
 28    Equal Protection Clause. Indeed, while such discrimination against those who seek to
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   1   exercise First and Second Amendment rights would be subject to, and plainly fail,
   2   strict scrutiny, the classifications at issue here could not even survive rational basis
   3   scrutiny as explained above. “Where money determines not merely ‘the kind of trial
   4   a man gets,’ but whether he gets into court at all,” the Miller Court explained, “the
   5   great principle of equal protection becomes a mockery.” 2022 WL 17811114 at *3
   6   (citation omitted).
   7         The Miller Court further explained that due process separately “requires that a
   8   citizen be able to be heard in court” and thus that, “[w]here the financial cost is too
   9   high to enable a person to access the courts,” there is also a violation of the Due
 10    Process Clause. Id. at *2. Simply put, “[l]aws like § 1021.11 that exact an unaffordable
  11   price to be heard in a court of law are intolerable.” Id. at *3.
 12
                                                 *     *      *
 13
             Section 1021.11 is unconstitutional, and its lingering threat of enforcement by
 14
       the named Defendants is actively infringing on Plaintiffs’ right to access the courts.
 15
       B.    Plaintiffs Will Be Irreparably Harmed Without A Preliminary Injunction.
 16
             Plaintiffs are irreparably harmed by Section 1021.11, which imposes a severe
 17
       burden on their right of access to the courts and deprives them of the full opportunity
 18
       to vindicate their Second Amendment rights. As the Ninth Circuit has repeatedly
 19
       emphasized, “[i]t is well established that the deprivation of constitutional rights
 20
       ‘unquestionably constitutes irreparable injury.’” Melendres v. Arpaio, 695 F.3d 990,
 21
       1002 (9th Cir. 2012) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)); see Roman
 22
       Cath. Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020) (per curiam) (“the loss
 23
       of First Amendment freedoms, for even minimal periods of time, ‘unquestionably
 24
       constitutes irreparable injury.’”) (citation omitted). Because “constitutional violations
 25
       cannot be adequately remedied through damages [such violations] therefore generally
 26
       constitute irreparable harm.” Am. Trucking Ass’ns v. City of Los Angeles, 559 F.3d
 27
       1046, 1059 (9th Cir. 2009) (citation omitted).
 28
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   1         The constitutional violations manifested in Section 1021.11 have caused
   2   concrete harm to Plaintiffs here. Section 1021.11 imposes a substantial potential cost
   3   on Plaintiffs and has consequently caused Plaintiffs to dismiss or refrain from bringing
   4   lawsuits challenging Defendants’ firearms regulations that they believe are
   5   unconstitutional. Combs Decl., ¶¶ 7–16; Hoffman Decl., ¶¶ 5–12; DiGuiseppe Decl.,
   6   ¶¶ 3–6; Lee Decl., ¶¶ 3–4; Schwartz Decl., ¶¶ 6–7. Plaintiffs are thus unable to
   7   exercise their First Amendment rights to assert Second Amendment rights in court.
   8   These significant and ongoing injuries far exceed the Ninth Circuit’s baseline for
   9   establishing irreparable harm in a constitutional context. See Am. Bev. Ass’n v. City &
 10    Cty. of San Francisco, 916 F.3d 749, 758 (9th Cir. 2019) (“Because Plaintiffs have a
  11   colorable First Amendment claim, they have demonstrated that they likely will suffer
 12    irreparable harm if the Ordinance takes effect.”) (citing Doe v. Harris, 772 F.3d 563,
 13    583 (9th Cir. 2014)); accord Cmty. House, Inc. v. City of Boise, 490 F.3d 1041, 1059
 14    (9th Cir. 2007).
 15    C.    The Balance Of Equities And Public Interest Both Favor Plaintiffs.
 16          When the government is a party, the balance-of-equities and public-interest
 17    factors merge. Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014).
 18    And by establishing a likelihood that Section 1021.11 violates the Constitution,
 19    Plaintiffs have “also established that both the public interest and the balance of the
 20    equities favor a preliminary injunction.” Arizona Dream Act Coal. v. Brewer, 757 F.3d
 21    1053, 1069 (9th Cir. 2014). This is because “it is always in the public interest to
 22    prevent the violation of a party’s constitutional rights.” Melendres, 695 F.3d at 1002
 23    (citation omitted); accord Preminger v. Principi, 422 F.3d 815, 826 (9th Cir. 2005)
 24    (“Generally, public interest concerns are implicated when a constitutional right has
 25    been violated, because all citizens have a stake in upholding the Constitution.”). The
 26    balance tips overwhelmingly in Plaintiffs’ favor given the significant First
 27    Amendment interests at stake. See Am. Bev. Ass’n, 916 F.3d at 758 (“[T]he fact that
 28    [Plaintiffs] have raised serious First Amendment questions compels a finding that . . .
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   1   the balance of hardships tips sharply in [Plaintiffs’] favor,” and “we have consistently
   2   recognized the significant public interest in upholding First Amendment principles.”)
   3   (internal quotation marks and citations omitted). Likewise, as the Ninth Circuit has
   4   put it, “it is clear that it would not be equitable or in the public’s interest to allow”
   5   violations of “the requirements of federal law, especially when there are no adequate
   6   remedies available. . . . In such circumstances, the interest of preserving the
   7   Supremacy Clause is paramount.” Cal. Pharmacists Ass’n v. Maxwell-Jolly, 563 F.3d
   8   847, 853 (9th Cir. 2009), reiterated in United States v. California, 921 F.3d 865, 893–
   9   94 (9th Cir. 2019); see also Am. Trucking Ass’ns, 559 F.3d at 1059–60 (determining
 10    that the balance of equities and the public interest weighed in favor of enjoining a
  11   likely preempted ordinance).
 12           Conversely, the government “cannot suffer harm from an injunction that merely
 13    ends an unlawful practice . . . .” Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir.
 14    2013); see also Zepeda v. U.S. I.N.S., 753 F.2d 719, 727 (9th Cir. 1983) (the state
 15    “cannot reasonably assert that it is harmed in any legally cognizable sense by being
 16    enjoined from constitutional violations”). The public interest is unquestionably served
 17    by preserving access to the courts for Plaintiffs who seek to vindicate their
 18    constitutional rights, rather than by permitting the government to insulate certain laws
 19    from judicial scrutiny.
 20    D.     The Court Should Waive Bond Or Require Only Nominal Security.
 21           Because Defendants will not suffer monetary hardship and this matter involves
 22    a constitutional violation and the public interest, the Court should either waive Rule
 23    65(c)’s bond requirement or impose only a nominal bond. See, e.g., Barahona-Gomez
 24    v. Reno, 167 F.3d 1228, 1237 (9th Cir. 1999) (district court has “discretion as to the
 25    amount of security required, if any”); Save Our Sonoran, Inc. v. Flowers, 408 F.3d
 26    1113, 1126 (9th Cir. 2005) (“requiring nominal bonds is perfectly proper in public
 27    interest litigation”).
 28
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   1
       E.    The Court Should Advance The Merits Hearing And Consolidate It With
   2         The Preliminary Injunction Pursuant to FRCP 65(a)(2).
   3         If the Court does not grant summary judgment, Plaintiffs request that the Court
   4   advance the trial on the merits and consolidate it with the preliminary injunction
   5   hearing pursuant to Federal Rule of Civil Procedure 65(a)(2), as the Court did in
   6   Miller. An expedited merits hearing is appropriate because Plaintiffs’ challenge raises
   7   only issues of law such that discovery and additional factual development is
   8   unnecessary. See Slidewaters LLC v. Wash. State Dep’t of Lab. & Indus., 4 F.4th 747,
   9   760 (9th Cir. 2021).
 10                                        V. CONCLUSION
  11         For the reasons set forth above, the Court should issue an order declaring
 12    unconstitituional and enter a permanent injunction enjoining enforcement or
 13    application of SB 1327’s fee-shifting penalty set forth in California Code of Civil
 14    Procedure section 1021.11 against Plaintiffs, Plaintiffs’ members, and any attorney or
 15    law firm representing any Plaintiff in any litigation involving Defendants potentially
 16    subject to SB 1327’s fee-shifting penalty.
 17     Dated: March 28, 2023                      BENBROOK LAW GROUP, PC
 18
                                                   By s/ Bradley A. Benbrook
 19                                                  BRADLEY A. BENBROOK
                                                     Attorneys for Plaintiffs
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